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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
PERSONAL SERVICES                   )
CONTRACTOR ASSOCIATION,             )
                                    )
                  Plaintiff,        )            Case No. 1:25-cv-469-CJN
                                    )
v.                                  )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


              PLAINTIFF’S MOTION FOR PRELIMINARY IINJUNCTION

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